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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

UNITED STATES                                   *
vs.                                             *    Case No.: 22-15 APM
THOMAS E. CALDWELL                              *
       *      *       *       *      *      *        *      *        *       *     *
                   NOTICE REGARDING WAIVER OF APPEARANCE


       The Defendant, Thomas E. Caldwell, by and through counsel, David W. Fischer, Esq.,

hereby gives notice that he waives his appearance for the in-person hearing regarding sentencing

issues common to one or more defendants, which is scheduled for Wednesday, May 24, 2023 at

9:30 a.m.




                                                               /s/
                                                     David W. Fischer, Esq.
                                                     Federal Bar No. 023787
                                                     Law Offices of Fischer & Putzi, P.A.
                                                     Empire Towers, Suite 300
                                                     7310 Ritchie Highway
                                                     Glen Burnie, MD 21061
                                                     (410) 787-0826
                                                     Attorney for Defendant


                                  CERTFICATE OF SERVICE
        I HEREBY CERTIFY that on this 23rd day of May, 2023, a copy of the foregoing Notice
was electronically filed with the Clerk of the United States District Court using CM/ECF, with a
notice of said filing to the following:

Counsel for the Government:                 Office of the United States Attorney
                                            555 4th Street, NW
                                            Washington, DC 20001

                                                             /s/
                                                     David W. Fischer, Esq.
